              Case 4:22-cv-00470-LPR Document 7 Filed 06/24/22 Page 1 of 1




                              IN THE UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF ARKANSAS
                                        CENTRAL DIVISION

JOHNNY AUSTIN BENTON                                                               PLAINTIFF
ADC #088246

v.                                  Case No.: 4:22-cv-00470-LPR

JOHN FELTS, et al.                                                              DEFENDANTS

                                           JUDGMENT

           Consistent with the Order that was entered on this day, it is considered, ordered, and

adjudged that this case is hereby DISMISSED without prejudice. The Court certifies that an in

forma pauperis appeal of this Judgment and the accompanying Order would not be taken in good

faith.1

           IT IS SO ADJUDGED this 24th day of June 2022.



                                                      ________________________________
                                                      LEE P. RUDOFSKY
                                                      UNITED STATES DISTRICT JUDGE




1
    28 U.S.C. § 1915(a)(3).
